     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 1 of 10 Page ID
                                      #:2413



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2    LOIA, INC. (APLC)
3    727 W 7th St PH 1-13
     Los Angeles, CA 90017
4
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5
6    Attorney for Artur Elizarov

7
8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11
      GOLDWATER BANK, NA,                          5:21-cv-616-JWH-SP
12                                    Plaintiff,
13                                                 DECLARATION OF ILYA
      vs.                                          ALEKSEYEFF SUPPORTING
14
                                                   MOTION FOR SANCTIONS
15    ARTUR ELIZAROV ET AL,                        UNDER RULE 11
                         Defendant.
16
                                                   Date: 10/21/2022
17    AND RELATED CROSS-ACTION.                    Time: 9:00 am
18                                                 Court: Hon. John W. Holcomb
19
20          1.    My name is Ilya Alekseyeff.
21          2.    I am an attorney and a member in good standing of the California
22   State Bar and the bar of this District Court for the Central District of California.
23          3.    I have represented Mr. Artur Elizarov in these proceedings.
24                                       BMW Lawsuit
25          4.    In 2019, I represented Artur Elizarov in a lawsuit entitled Artur
26   Elizarov v. BMW Financial Services NA, LLC, Los Angeles Superior Court case
27   19STCV08507.
28          5.I filed the lawsuit on March 11, 2019.
                                           1
        DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                            SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 2 of 10 Page ID
                                      #:2414



1             6.    The lawsuit was settled on May 22, 2019.
2             7.    I examined the document in Exhibit A and recognized the document
3    as the exact duplicate of the settlement agreement, which Mr. Elizarov signed in
4    my presence and which I subsequently received counter-signed from BMW’s
5    counsel Ms. Caley.
6             8.    Paragraph 4 of the settlement agreement in Exhibit A contemplated
7    that the court must retain jurisdiction over the settlement under California Code of
8    Civil Procedure section 664.6.
9             9.    BMW’s attorney Ms. Caley insisted that the court had to agree to
10   retain jurisdiction before the case could be dismissed.
11            10.   I examined the document in Exhibit B and recognized the document
12   as the exact duplicate of an email that I received from Ms. Caley on May 14, 2019,
13   where Ms. Caley discussed the applicable law.
14            11.   On May 22, 2019, after I received the countersigned settlement
15   agreement from Ms. Caley, I filed a notice of unconditional settlement with the
16   court.
17            12.   I examined the document in Exhibit C and recognized the document
18   as the exact duplicate of the Notice of Settlement, which I personally filed with the
19   court in the BMW action on May 22, 2019.
20            13.   On May 22, 2019, I also filed the stipulation and proposed order re:
21   retention of jurisdiction under Code of Civil Procedure section 664.6.
22            14.   The court accepted the stipulation and agreed to retain jurisdiction on
23   July 26, 2019.
24            15.   I examined the document in Exhibit D and recognized the document
25   as the exact duplicate of the stipulation and order re: jurisdiction, which I
26   personally submitted to the court and subsequently received, signed and
27   conformed, from the court.
28
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        DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                      SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 3 of 10 Page ID
                                      #:2415



1            16.    The court finally dismissed the case on my request on August 14,
2    2019.
3            17.    I examined the document in Exhibit E and recognized the document
4    as the exact duplicate of the Request for Dismissal, which I personally submitted to
5    the court on August 14, 2019, and subsequently received, signed and conformed,
6    from the court.
7            18.    On August 14, 2019, I also filed a declaration with the court where I
8    explained in detail why the case was not dismissed until August 14, 2019.
9            19.    I examined the document in Exhibit F and recognized the document
10   as the exact duplicate of my declaration dated August 14, 2019, which I personally
11   prepared, signed, and filed with the court on August 14, 2019.
12           20.    In 2021, when Goldwater filed this case, the Los Angeles Superior
13   Court made its court records available to the public.
14           21.    The records could be accessed through the “Case Document Images”
15   option on the court’s website lacourt.org.
16           22.    I examined the document in Exhibit U and recognized the document
17   as a screen printout of the Los Angeles Superior Court’s website, which I
18   personally created, showing the option to access case document images..
19           23.    I examined the document in Exhibit V and recognized the document
20   as a printout of the document listing in the case 19STCV08507, which I personally
21   printed from the Los Angeles Superior Court’s website, showing the list of all the
22   case documents available for download, including the notice of unconditional
23   settlement, the request for dismissal, the stipulation re: jurisdiction, and my
24   declaration.
25           24.    These documents are available to any member of the public, attorneys
26   and non-attorneys alike.
27   \\\
28
                                    3
           DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                         SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 4 of 10 Page ID
                                      #:2416



1                                         Gilmore loan
2          25.     In February of 2020, I borrowed $80,000 from Shatar Capital on the
3    following terms: monthly interest-only payments of $933.33 at the interest rate of
4    14% per annum with a balloon payment of $80,000 due at maturity on December
5    31, 2020.
6          26.     I examined the document in Exhibit R and recognized the document
7    as the exact duplicate of the note, which I personally signed and initialed,
8    regarding the Shatar Capital loan.
9          27.     The loan was also subject to a recorded deed of trust.
10         28.     I examined the document in Exhibit G and recognized the document
11   as the exact duplicated of the recorded deed of trust, which I personally signed and
12   initialed, regarding the Shatar Capital loan.
13         29.     After all the fees and liens, I received $50,039.38 in net proceeds from
14   the $80,000 loan.
15         30.     I examined the document in Exhibit S and recognized the document
16   as an exact copy of the Stewart Title of California, Inc. final settlement statement,
17   which I personally received from escrow, accurately showing the proceeds and
18   disbursement regarding the Shatar Capital loan.
19         31.     I subsequently made all the monthly payments but defaulted on the
20   principal in December 2020 due to hardship caused by the worldwide COVID-19
21   pandemic.
22         32.     I tried to refinance the loan but could not because of the pandemic.
23         33.     On April 12, 2021, I received a loan payoff demand from Shatar
24   Capital’s long servicer, FCI Lender Services, Inc., which required a payment of
25   $84,843.22.
26         34.     I examined the document in Exhibit H and recognized the document
27   as an exact duplicate of the Demand Loan Payoff letter, which I personally
28   received from FCI Lender Services on April 12, 2021, describing the payoff terms.
                                           4
         DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                            SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 5 of 10 Page ID
                                      #:2417



1          35.     I subsequently paid this loan with the funds from the sale of Mr.
2    Elizarov’s Palm Springs house located at 291 E Overlook Road in Palm Springs,
3    California.
4          36.     On April 27, 2021, Shatar Capital subsequently the reconveyance
5    document.
6          37.     I examined the document in Exhibit J and recognized the document
7    as the recorded copy of Substitution of Trustee and Deed of Reconveyance, which
8    I received from FCI Lender Services on behalf of Shatar Capital.
9                             Goldwater applications and negotiations
10         38.     I have never had any business or other relationship with Goldwater
11   Bank, National Association.
12         39.     I have never applied to Goldwater for a loan and have never provided
13   any information to Goldwater.
14         40.     I was not involved in Mr. Elizarov’s loan application to Goldwater.
15         41.     Before Mr. Elizarov submitted the loan application to Goldwater, I
16   had not read the application, had not discussed its contents with Mr. Elizarov, and
17   had not assisted Mr. Elizarov in completing the application.
18         42.     I also did not know the information that Mr. Elizarov included in the
19   application until I became involved as Mr. Elizarov’s counsel in this ligitation.
20         43.     Mr. Elizarov and I have owned properties individually in California
21   for years.
22         44.     When Mr. Elizarov applied for loans, I was not involved in the
23   application process, and vice versa.
24         45.     I was also not involved in Mr. Elizarov’s loan assistance application
25   to Goldwater.
26         46.     Before Mr. Elizarov submitted the assistance application to
27   Goldwater, I had not read the application, had not discussed its contents with Mr.
28
                                 5
        DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                      SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 6 of 10 Page ID
                                      #:2418



1    Elizarov, and had not assisted Mr. Elizarov in completing the assistance
2    application.
3          47.      I did not know what Mr. Elizarov included in the assistance
4    application until I became Mr. Elizarov’s counsel in this litigation.
5          48.      I was not involved in Mr. Elizarov’s negotiations with Goldwater at
6    the end of March 2021.
7          49.      I did not know the nature of the negotiations or what Mr. Elizarov and
8    Goldwater discussed until after I became Mr. Elizarov’s counsel in this litigation.
9          50.      In the year 2020, I contacted Goldwater’s loan servicer, WestStar
10   mortgage, to discuss one issue: WestStar illegally reported Mr. Elizarov as
11   delinquent on the loan during the period of forbearance.
12         51.      During that call, I did not discuss any of the information that Mr.
13   Elizarov reported to Goldwater in the loan assistance application and did not
14   discuss Mr. Elizarov’s income, expenses, or assets.
15                                    Forbearance process
16         52.      In preparing this case, I research guidance materials regarding the
17   forbearance process relating to hardships caused by COVID-19 virus.
18         53.      I examined the document in Exhibit CC and recognized the document
19   as a Lender Letter (LL-2020-02), which I personally downloaded from Fannie
20   Mae’s website, https://singlefamily.fanniemae.com/media/22261/display, on July
21   26, 2022, stating on page 7 the following: “The CARES Act states that a
22   forbearance plan must be provided to any borrower who requests a forbearance
23   with an attestation of the financial hardship caused by the COVID-19 emergency;
24   and no additional documentation other than the borrower’s attestation to a financial
25   hardship caused by the COVID-19 emergency is required.”
26         54.      I highlighted the above text in Exhibit CC for emphasis.
27         55.      I examined the document in Exhibit DD and recognized the document
28   as the information published by the Consumer Financial Protection Bureau, CFPB,
                                             6
         DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                              SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 7 of 10 Page ID
                                      #:2419



1    which I personally downloaded from CFPB’s website
2    https://files.consumerfinance.gov/f/documents/cfpb_csbs_consumers-forbearance-
3    guide_2020-05.pdf, stating on page 2 as follows: “You are not required to submit
4    documentation to prove your financial hardship to enter a forbearance under the
5    CARES Act.”
6          56.    I highlighted the above text in Exhibit DD for emphasis.
7          57.    I examined the document in Exhibit EE and recognized the document
8    as a printout of an answer to frequently asked questions published by Fannie Mae,
9    which I personally downloaded from Fannie Mae’s website https://servicing-
10   guide.fanniemae.com/COVID-19/COVID-FAQs/1957530251/Is-Form-710-
11   Mortgage-Assistance-Application-required-to-verify-hardship-for-putting-a-
12   borrower-on-a-COVID-19-related-forbearance-plan.htm, answering the question,
13   “Is Form 710 (Mortgage Assistance Application) required to verify hardship for
14   putting a borrower on a COVID-19 related forbearance plan,” as follows: “For
15   COVID-19 impacted borrowers, no additional documentation other than the
16   borrower’s attestation to a financial hardship caused by the COVID-19 emergency
17   is required for the borrower receiving a forbearance plan.”
18         58.    I examined the document in Exhibit KK and recognized the
19   document as a copy of Artur Elizarov’s supposed mortgage assistance application,
20   which I received in discovery from Goldwater’s attorney Derek Bast.
21                               Gregory Hill text messages
22         59.   I examined the document in Exhibit HH and recognized the messages
23   as a conversation between Mr. Elizarov and Gregory Hill, which I personally
24   created from the contents of Mr. Elizarov’s cellular telephone as follows:
25         60.   I used a commercially available program iMazing.
26         61.   This program allows users to create an easy-to-read extraction of text
27   messages from the iPhone.
28         62.I completed the task as follows:
                                           7
        DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                          SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 8 of 10 Page ID
                                      #:2420



1          63.    I connected Mr. Elizarov’s unlocked iPhone to my computer and
2    extracted the text messages from the phone.
3          64.    I located the conversation with Gregory Hill and saved all the
4    messages in the conversation into a single easy-to-read PDF file.
5          65.    The document in Exhibit HH is the file that I created using iMazing
6    software.
7          66.    The information in the footer of each page, including the date of the
8    extraction and the serial number of the phone, was automatically generated by
9    iMazing.
10                                           Title search
11         67.    I examined the document in Exhibit Y and recognized the document
12   as a printout of the title search in Los Angeles county for all recorded instruments
13   under the name of Mr. Artur Elizarov, which I personally created as follows:
14         68.    I navigated my internet browser to NETR Online’s website,
15   https://datastore.netronline.com/losangeles, entered Mr. Elizarov’s full name,
16   “Artur Elizarov,” in the search fields for the name, selected the “grantor” option,
17   and ran the search.
18         69.    Exhibit Y was the result of that search.
19         70.    The result showed a recorded tax lien, document number
20   20171178616, from the Internal Revenue Service recorded on October 15, 2017,
21   and a grant deed, document number 20180060936, from Artur Elizarov to Cao Thu
22   and Solomon Aman Demoz recorded on January 19, 2018.
23         71.    I downloaded the search results in the document in Exhibit Y.
24         72.    I also highlighted the above two recorded documents for emphasis.
25                                      Discovery responses
26         73.    I examined the document in Exhibit Z and recognized the document
27   as an exact duplicate of Goldwater Bank’s response to Mr. Artur Elizarov’s
28
                                 8
        DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                      SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 9 of 10 Page ID
                                      #:2421



1    requests for admissions, which I received from Goldwater’s attorney Derek Bast
2    by email in this case.
3           74.   I examined the document in Exhibit AA and recognized the document
4    as an exact duplicate of Goldwater Bank’s response to Mr. Artur Elizarov’s
5    interrogatories, which I received from Goldwater’s attorney Derek Bast by email in
6    this case.
7           75.   I examined the document in Exhibit FF and recognized the document
8    as an exact duplicate of the recorded Deed of Trust regarding Mr. Elizarov’s
9    Goldwater loan, which I received from Goldwater’s attorney Derek Bast by email,
10   showing that Goldwater recorded the deed of trust on May 20, 2021.
11          76.   I examine the document in Exhibit GG and recognized the document
12   as an exact duplicate of the grant deed from Mr. Artur Elizarov to Mr. Scott
13   Howlett regarding the Palm Springs house, which I received from Goldwater’s
14   counsel Derek Bast by email, showing that the deed was recorded at 4:55 pm on
15   March 29, 2021.
16          I declare under penalty of perjury under the laws of the United State that the
17   foregoing statements are true on my own personal knowledge.
18
19
20   Dated: 08/08/2022                Signature:
21
22
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                                  9
         DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                       SANCTIONS UNDER RULE 11
     Case 5:21-cv-00616-JWH-SP Document 183-1 Filed 09/07/22 Page 10 of 10 Page ID
                                       #:2422



1                              CERTIFICATE OF SERVICE
2          I, Ilya Alekseyeff, certify that on August 8, 2022, I served the attached
3    “DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
4    SANCTIONS UNDER RULE 11” by mail as follows:
5     Derek Bast                     Joseph LeVota
      Wagner Hicks, PLLC             Hilbert Satterly LLP
6     831 E Morehead St Ste 860      409 Camino del Rio St Ste 104
7     Charlotte, NC 28202            San Diego, CA 92108
8
      Marie Maurice
9     Ivie McNeill Wyatt Purcell & Diggs,
10    444 S Flower St Fl 18
      Los Angeles, CA 90071-2919
11
12
13         I further certify that on that on August 8, 2022, I also served the attached

14   “DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR

15   SANCTIONS UNDER RULE 11” by email as follows:
           1.     Derek Bast, derek.bast@waghernicks.law
16
           2.     Marie Maurice, mmaurice@imwlaw.com
17
           3.     Joseph LeVota, jlevota@hscallaw.com
18
           4.     Ryan Thomason, rthomason@hallgriffin.com
19
20         5.     Nabil Bisharat, nbisharat@orsusgate.com

21         I declare under penalty of perjury under the laws of the United States that

22   the above certification is true and correct.

23
24
     Date: 08/08/2022                  Signature:
25
26
27
28
                                  10
         DECLARATION OF ILYA ALEKSEYEFF SUPPORTING MOTION FOR
                       SANCTIONS UNDER RULE 11
